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No. 1:19-€\’-00014-(:

 

ln the UNITED STA'I`ES DIS'l`RIC'l` C()UR'I`
FOR THE NORTHERN DISTRICT OF TEXAS

ABILENE I)lVlSl(')[\'

 

()RLAND OIL & GAS LLC, and NICHOLAS HAROS

PI,JAINTIFl"S,

JOHN CIURCINA,

DEFENDAN'I`.

 

MOTION TO STRIKE AND BR[EF IN SUPP()RT

 

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UNlTED STATES DlSTRlCT COURT
FOR THE NORTHERN DlSTRlCT OF TEXAS
ABILENE DIVlSl()N

ORLAND OlL & GAS LhC. and
NICHOLAS HAROS

le'mi{/".`s"
Ci\'il Action No. 1219-cv-00014-C
vs.

JOHN ClURClNA.

'J‘j; .'f_f.\ '.r“,/: 'f[, Ef_r. fm '/A 'f/: 'J’D '//.

De_fe ndm/if.

DEFENDANT’S MOTI()N 'I`O STRIKE ANI) BRlEl<` IN SUPPOR'I`

Pursuant to Rule 12(t`) ofthe Fecleral Rules ol`Civil Procedure_ Det`endant._ john Ciurcina
("l\/lr. Ciurcina"). through his attorneys hereby moves this court t`or an order striking Orland Oil
& Gas LLC`s ("Orland") and Nicholas l-laros’ ("l\/lr. Haros") (collectively “Plaintit`t`s") references
to confidential settlement discussions made by Plaintit`fs in Plaintit`fs` Amended Complaint l`or
Declarator)f .ludgment (the "`Amended Texas Complaint") and accompanying Appendix to
Plaintift`s` Amended Complaint for Declaratory .ludgment (the "Appendix").

I. PROCEDURAL AND FACTUAL BACKGR()UND

From 2014 through 2016. l\/lr. Ciurcina counseled Or|and and l\/lr. Haros in business and
legal matters in New Yorl< with regards to certain oil and gas acquisitions (Ciurcina Declaration
11 6) (Docl<et No. 14) (l-lereinat`ter “`Ciurcina Decl."). l\/lr. Ciurcina performed over 3.000 hours of
business and legal services t`or Plaintit`l`s` which culminated in Plaintit`t`s purchasing and operating
many oil and gas wells in Texas. (Ciurcina Decl. 1 ) (Amended Compl. at p. 4). l\/lr. Ciurcina

understandably performed his services with the expectation that he would be appropriately

 

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compensatedl (Ciurcina Decl. ‘!I 6). However. Plaintiffs have refused to compensate Mr. Ciurcina
for his extensive work on their behale (Ciurcina Decl.‘§ 5). which has resulted in substantial unjust
enrichment to Plaintiffs in the form of the value ofthe services rendered by l\/lr. Ciurcina as well
as oil and gas investment profits believed to be several million dollars (See Eastern Disti'ict
of New York Complaint) (Docl<et No. 14).

After Plaintiffs refused l\/lr. Ciurcina"s personal attempts to obtain compensation l\/lr.
Ciurcina hired New Yorl< legal counsel to remedy his damages From October 31. 2018 through
approximately January 2'2. 2019. l\/lr. Ciurcina conducted settlement discussions with Plaintiffs in
New York to settle his New Yorl< claims against Orland and 1\/11'. Haros. (Declaration of.loseph l\/l.
Pastore lll 11 2_. 9) (Docl<et l\lo. 14) (Hereinafter "Pastore Decl."). Through these confidential
settlement discussions1 l\/lr. Ciurcina provided Plaintiffs with his drafted Eastern District ofNew
York complaint (the "New Yorl< Complaint"') to further progress the settlement discussions
(Pastore Decl.il 5-6). Plaintiffs operated in bad faith by misleading l\/li'. Ciurcina to believe that
they needed more time to consider his last settlement proposa|. |n reality. they were drafting and
filing their original Texas complaint (the "Texas Complaiiit") in this matter in order to litigate this
matter in the forum of their choosing to the detriment of l\/lr. Ciurcina. the real aggrieved party.
(Pastore Decl.il 10).

On February 28, 2019. l\/lr. Ciurcina filed a l'\/lotion to Dismiss Plaintiffs" original Texas
Complaint on the ground that it was an anticipatory filing (.S`ee Docl\'et No. 9). ln response
P]aintiffs submitted the Amended Texas Complaint. which aims to refute any liability.l (Amended

Compl.).

 

ll\/Ir. Ciurcina has filed concurrentl_\-l with this .'\-’lotion to Stril<e a :\ilotion to Dismiss Plaintiffs' Amended Complaint
on the grounds that the Court has discretion not to decide the case under the Declaratory judgment Act as an abuse
ofsuch act by means of an anticipatory filing in bad faith. Mr. Ciurcina suggests that the public filing of settlement
communications in this case only underscores Plaintiffs` clear bad faith motives in its filing.

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Plaintiffs` entire Amended fean Complaint is based on confidential settlement
communications which Plaintiffs have attached to their Amended Texas Complaint as exhibits
and filed publicly with this Court. For example. on page four ofthe Amended Texas Complaint.
Plaintiffs reference “`settlement demands" sent to them by !\/lr. Ciurcina and cite to "Exhibit B-"
(Amended Compl. at p. 4). which is a confidential settlement letter created for an intended to be a
part of the negotiations towards settlement and bearing a bold underlined banner stating "F_QK
SETTLEMENT PURPOSES ONLY - IN ANTICIPATION ()F LI'[`lCA'l`ION." (Arnended
Compl., Exhibit B).

On page five ofthe Amended Texas Complaint` Plaintiffs reference two confidential
settlement letters and a draft complaint_ which was attached to one ofthe letters. Plaintiffs admit
that the draft complaint was "attached" to settlement correspondence and claim that ”'set[s] out
the supposed factual and legal basis for claimed partnership interest." (Amended Compl. at p. 4-
5). Plaintiffs then attached the confidential draft complaint. which bears a "draft" watermarl<. to
the Amended Texas Complaint as Exhibit C. (Amended Compl.. Exhibit C). Plaintiffs discuss
the substance of multiple confidential settlement letters and attach another confidential
settlement letter!bearing the same bold and underlined banner as above_to the Amended
Texas Complaint as Exhibit D. (Amended Compl. at p. 51 Exhibit D).

All such assertions are references to confidential settlement communications which
Plaintiffs were not privileged to quote reference or attach to a publicly filed document and would
not otherwise be admissiblel Such references are prohibited under Federal Rules of Evidence Rule
403 and 408 and are not admissible in this matters and all such references should be disregarded

by the Court. This Court should exercise its liberal discretion to strike any and all references to

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settlement discussions from the Amended Texas Complaint under Rule l2(f) of the Federal Rules
ofCivil Procedure.
ll. ARGUMENT
a. l\/lotions to Strike Under Rule ILQ

The decision whether to grant a motion to strike under Rule 12(f) is within the discretion
ofthe court. Jcicobs t'. ifogz).s'cotlq 2004 WL 2921806. at *2 (N.D. Tex. Dec. l6. 2004) (Fitz\vater.
J.). Urider the permissive language of the rule. the Court has "ample discretion" to strike. fn re
Beef]mt’ii.s'. Ariri`i‘i~iis! Li`tig.. 600 F2d l 148. 1 168 (5th Cir 1979). Rule 12('0 authorizes the court to
order stricken from "any pleading any insufficient defense or any redundant. immaterial.
impertinent, or scandalous matter."' Fed. R. Civ. P. 12(0. A court may strike such matter sua
sponte or on motion. Id.

b. Settlement Negotiations should be Stricken from Pleadinas Pursuant to Rule 408

Courts have used Ru|e 12(f) to strike allegations from complaints that detail settlement
negotiations within the ambit of Rule 408 ofthe Federal Rules of Evidence. See Bei'i_ai v. Lee.
428 F. Supp. 2d 546__ 562 (N.D. Tex. March 8, 2006) (Fitzwater` _l.'); see also Phi`ici. ’.s' C'l?iirch of
()i/irScivi`oi' v. Coricoi'd Ti-i'p.. 2004 U.S. Dist. WL 1824356, at *2 (E.D. Pa. .luly 27. 2004): see
also Kelfy v. L.L. C`ooi' J., 145 F.R.D. 32_ 40 (S.D.N.Y. 1992). Under Rule 408. evidence of
furnishing promising or offering to furnish a valuable consideration in compromising or
attempting to compromise a claim and evidence of conduct or statements made during
compromise negotiations about the claim are not admissible to prove or disprove the validity or

amount ofa disputed claim or to impeach by a prior inconsistent statement or a contradiction

Fed. R. Evid. 408.

 

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The exclusionary powers under Rule 408 are based on two considerations First. "the
evidence is irrelevant. since the offer may be motivated by a desire for peace rather than from
any concession of weakness of position." .loreme G. Snidei" l-loward A. Ellins & 1\/1ichael S.
Flynn. Corpoi'ote Pi'i'vi`i'ege.s' and Coiifi`deiiii'rii' ]n_'fi)i'iiiu!i`oii § 12.02 (2018). Second. and most
importantly the rule"s exclusion ofsett!ement evidence furthers public policy by promoting the
voluntary settlement of disputes which would be discouraged if evidence of compromise were
later used in court. Lyono'el/ Cheiii. Co. v. ()cci'o'enioi' Chern. C`oi‘p.. 608 F.3d 284 (5th Cir. 2010).

Rule 408`s exclusion attempts to promote "the public policy favoring the compromise
and settlement ofdisputes." Coiiipaiii`on Prop. & Ccis. In.s'. ("o. v. Ophei'iii. 92 F.Supp.3d 539
(N.D. Tex. 2015). Using relevant evidence brought up in settlement negotiation in related
litigation would undermine the purpose ofRule 408. L_i»'oiideii C!iein. C`o. i>. Occi`cz’eiitof Chei-ii.
Corp.1 608 F.3d 284, 298 (5th Cir. 2010). Rule 408 fosters free discussion in connection with
negotiations Ofcourse. parties in settlement discussions may discuss claims that they later find
less persuasive or unsupported after further investigation and use puffery to advance a set of
facts most favorable to their position. '1‘hus, the question under the rule is "whether the
statements or conduct were intended to be part ofthe negotiations toward comproinise." See.
Roii-iud'ci Dev. Co. v. Raucii. 644 F2d 1097. 1 106 (5th Cir_ 1981 ).

A review of the relevant case law demonstrates that District Courts routinely strike
references to settlement discussions made within the pleadings as inadmissible under Rule 408.
See, Bei'iji.’ v. Lee. 428 F. Supp. 2d 546__ 562 (N.D. Tex. 1\/1arch 8. 2006)(Fitzwater.1.). See o!so.
e.g.` Phi`ici. 's Cimrc)"i ofOtii‘ Scivi'oi' v. Coiicord Tu=p._. 2004 U.S. Dist. WL 1824356. at *2 (E.D.
Pa. July 27, 2004)("Whi1e Rule 408 does not apply to pleadings directly. . .allegations in a

complaint may be stricken. under Rule 12(f). as violative ofthese policies."); (..="iii`it)¢i.$`iore_s~ ex

 

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rel. Ai.s‘akei~ v. C`eii!i'oCoi'e Hecilili S_t.'s'.. lnc.. 2002 U.S. Dist. WL 1285089. at *2 (D. l\/linn. .lune
5. 2002) ("Under Rule 408. evidence of conduct or statements made in compromise negotiations
is inadmissible to prove liability. Although this is a rule of evidence courts have routinely
granted motions to strike allegations in a pleading that fall within the scope of Rule 408.")
(citation omitted)); see also Keii'y v. L.L. Coor'.]., 145 F.R.D. 321 40 (S.D.N.Y. 1992) (granting
defendant`s motion to strike portions ofa complaint that referenced settlement discussions under
Rule 408 as immaterial and potentially prej udicial).

Here._ given that there can be no question that the references and exhibits to the Amended
Texas Complaint were made during settlement discussions as defined under Rule 408. due to the
communications being conspicuously labeled as such by 1\/lr. Ciurcina. this Court should exercise
its discretion to strike such references from the Amended Texas Complaint and Plaintiffs’
supporting documents in their Appendix as they are irrelevant to this matter.

c. Settlement Negotiations should be Stricken from Pleadings Pursuant to Rule 403

ln addition to the above, ifthe allegations in a complaint are prejudicial to the defendant
a motion to strike may be grantedl Todht.intei'. Mondnvci & A.t‘.t'ocs'. v. I.C`.('.I. (Hoi'ci'i`i'rgs) Pr_t.’.
er., C.A. No. 88-3031_._ 1991 WL 166585 (D.D.C. Aug. 14__ 1991)(1,amberth.rl.). Even ifthis
Court were to find that the references to settlement discussions are excluded from the protections
of Rule 408 and somehow relevant under Rule 403 ofthe Federal Rules of Evidence. a court
may exclude relevant evidence if its probative value is "substantially outweighed by a danger of
one or more ofthe following: unfair prejudice confusing the issues misleading thejury. undue
delay_, wasting time, or needlessly presenting cumulative evidence,"' Fed. R. Evid. 403; see also
United Sraies v. Beeci'iuiii, 582 F.2d 898, 913 (5th Cir. 19781. lt is well recognized that the risks

of prejudice and confusion entailed in receiving settlement evidence are such that often Rule 403

 

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and the underlying policy of Rule 408 require exclusion even when a permissible purpose can be
discerned Diignn v. iiiei'cedes'-Ben: USA. LLC. 2017 U.S. Dist. LEXlS 154637 (E.D. La.. 2017).

l-lerer the references to settlement discussions should be stricken under Rule 403 as they
confuse the issues in this matter and are highly prejudicial to lVlr. Ciur‘ciiia. First. this entire
action is based upon Plaintiffs reviewing 1\/lr. Ciurcina`s draft New York Complaint and styling a
Texas declaratory relief action around the proposed New York claims whichr at the time.
included, among other claims partnership and breach of fiduciary duty claims Such claims were
abandoned dtiring settlement discussions as it became clear that h/lr. Ciurcina`s strongest claims
against Orland and 1\/1r. Haros were quantum meruit and unjust enrichment. However. Plaintiffs`
Amended Texas Complaint still references partnership claims which have since been
abandoned and is replete with references to settlement discussions ofthose claims Any
reference to such claims during settlement discussions needlessly complicates the true issue in
this matter, which is that l\/lr. Ciurcina has not been paid for the value of his services

Second. the references to settlement discussions are highly prejudicial to 1\/|1'. Ciurcina.
There is a strong public policy in favor of pre-litigation settlement discussions to encourage
parties to resolve their disputes out of court. Componi'on Prop. & Cci.t. fns C`o. v. Opiiei'mr 92
F.Supp.3d 539 (N.D. Tex. 2015'); C`oi'tinibi`a Pi`c!iii'es Inci'iis'ri'i`es. hic. v_ Sc.linei`dei'. 435 F. Supp.
742,_ 747-48 (S.D. N.Y. 1977), affd_ 573 F.2d 1288 (2d Cir. 1978)).1\/11‘.Ciurcina communicated
with Plaintiffs in order to have an open discussion about the parties` relationship and the monies
owed to Mr. Ciurcina. These communications were made in confidence and are nonl being
publicized by Plaintiffs. Allowing Plaintif`fs to do so would discourage open discussions in pre-
litigation settlement and cause parties to be hesitant about being truthful and disclosing their full

legal positions knowing that it could be used against them in court.

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Furthermore. ajury could look at these discussions and devaltie Mr. Ciurcina`s claims
against the Plaintiffs. Tliere is a real danger that ajury could interpret the fact that l\/lr. Ciurcina
abandoned several of his claims pre-litigation to mean that his remaining claims are not as strong
as they are. A jury could look negatively on the fact that Nli'. Ciurcina approached the litigation
from the perspective ofa partner and chose to pursue claims as a service provider. Plaintiffs
should not be able to paint 1\/lr. Ciurcina in such a light to a potential jury simply because he
chose to litigate his strongest claims against the Plaintiffs. Because the references to settlement
negotiations confuse the true issues in this matter and because the references unfairly prejudice
l\/lr. Ciurcina__ they should be stricken from the pleadings under Rule 403.

Ill. CONCLUSION

For the foregoing reasons the above references citations and attachments of settlement
discussions are prohibited under Rule 408 as evidence ofoffering valuable consideration in
compromising or attempting to compromise a claim and should be stricken from the Amended
Texas Complaint. ln addition. under Rule 403. the settlement discussions confuse the issues and
substantially prejudice l\/lr. Ciurcina in that his confidential communications for settlement
purposes are being used against him in this declaratory judgment action. The use of such
communications penalizes l\/lr. Ciurcina for seeking to resolve this matter without the use of the
Courts and would otherwise promote a policy that dissuades potential litigants from engaging in
pre-litigation settlement negotiations As such__ l\/lr. Ciurcina respectfully requests that this Court
strike all references to settlement negotiations discussed above in full from the Arnended Texas
Complaint and Plaintiffs" Appendix in support. Permitting this action to proceed forward with

these references on record will only reward Plaintiffs for their deceptive conduct during

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settlement discussions and penalize i\/lr. Ciurc

judicial intervention.

Dated: l\/lar'ch 1 1. 2019

ina for attempting to resolve the dispute without

Respectfully submitted

 

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